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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA                       )
v.                                             )
JESSIE N. TURNER                               )    2:95-CR-129-JHH-TMP


     MEMORANDUM OF DECISION REGARDING ORDER GRANTING
        MOTION TO REDUCE TERM OF IMPRISONMENT
       On March 7, 2008, the movant, acting pro se, filed a motion (doc. #1658)

pursuant to 18 U.S.C. § 3582 for reduction of term of imprisonment, requesting

that this court modify or reduce his sentence.1 For the reasons stated herein, the

court concludes that the motion for reduction of sentence should be GRANTED,

and a separate order to that effect will be entered.

       In May 2007, the U. S. Sentencing Commission (U.S.S.C.) submitted a

group of proposed amendments to the Sentencing Guidelines as they have done

annually since 1987. One of these amendments, #706, (the Crack Amendment)

represented the U.S.S.C.’s attempt to mitigate the sentencing disparity for

defendants convicted of crack cocaine offenses as opposed to powder cocaine



       1
          On August 14, 2008 a memorandum (doc. #1706) and order (doc. #1707) denying the
motion were entered. The next day, August 15, 2008, an order was entered (doc. #1708) setting
aside the August 14, 2008 memorandum and order. On September 15, 2008 Turner filed a
second crack motion (doc. #1728). Since the earlier crack motion (doc. #1658) is still pending,
the September 15,2008 motion (doc. #1728) is MOOT.
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offenses. In the absence of congressional action to amend the 100:1 ratio found in

the Title 21 statutes, the U.S.S.C. proposed a method to reduce the potential

sentences by lowering the applicable guidelines for quantities of crack by two

levels, thereby creating a ratio ranging from about 25:1 to about 80:1 within the

Guidelines framework.

      All of the proposed amendments, including the Crack Amendment, became

effective on November 1, 2007.2 Then in December 2007, following a period of

public discussion, the U.S.S.C. decided to make the Crack Amendment retroactive.

The effective date for retroactive application of the Crack Amendment became

March 3, 2008. The U.S.S.C. also amended Guideline § 1B1.10 to include the

Crack Amendment (hereinafter referred to as “the amended policy statement”). As

such, as of March 3, 2008, the Crack Amendment and amended policy statement

apply to all relevant sentences, old and new. All of this was done pursuant to the

U.S.S.C.’s authority found at 28 U.S.C. § 994(u) and 18 U.S.C. § 3582(c).

      With that background, the court now turns to the current motion (Doc.

#1658) of Jessie N. Turner to modify his term of imprisonment under 18 U.S.C.

§ 3582(c)(2). The motion seeks the benefit of the Crack Amendment and the

amended policy statement.


      2
          At this point, none of the amendments had any retroactive effect.

                                                       2
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        The focus of the § 3582(c)(2) motion is the 360 month sentence of imposed

upon movant under Count 2.3 Movant was found guilty of this charge and was

sentenced on May 30, 1996. Count 2 charged 24 persons, including movant, with

a long-running conspiracy under 21 U.S.C. § 846 to violate 21 U.S.C. § 841. The

conspiracy was largely a “family business” utilizing a number of persons outside

the family to help market cocaine base. On March 19, 2006 (the day after the

verdict was returned), the court dictated into the record a finding which attributed

to Turner 2.3 kilograms of cocaine base.

        The following chart sets forth the application of the crack amendment to

the instant case:

                                            Original Sentence                   Retroactive Sentence
                                                                                    Adjustment
      Total Offense Level                             40                                   38
  Criminal History Category                           III                                  III
     Imprisonment Range                     360 months to Life                    292 - 365 months
            Departure                                n/a                                  n/a
       Sentence Imposed                         360 months                           292 months



        A review of the sentencing issues now confronting this court includes, but is

not limited to, the following:


         3
            The movant was also convicted under Counts 16, 28 and 29 and was sentenced to 48 months to be
served concurrently to the sentence in Count 2.

                                                       3
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       1.     The movant was originally sentenced to the bottom of the correctly-

              computed guideline range.

       2.     As computed in accordance with the amended guideline, the bottom

              of the range is 292 months, and a sentence at such bottom will result

              in a reduction of 68 months.

       3.     While movant’s Sentry report indicates several relatively minor

              infractions during the past 10 years, they, together with

              movant’s criminal history as reflected in the presentence report,

              do not indicate that there are public safety issues raised by his

              release at an earlier date.

       Pursuant to U.S.S.G § 1B1.10 (b), this court finds that the movant is eligible

for consideration for a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2)

and concludes that the crack amendment applies to the circumstances of the

movant. Furthermore, this court concludes that the movant would have been

sentenced at the low end of the offense level had the crack amendment been in

effect at that time.

       Therefore, in light of these considerations and after considering the factors

set forth in 18 U.S.C. § 3553(a), this court hereby finds that the sentence in count

two should be reduced to a term of 292 months. In so doing, the court finds that

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the movant has not over served the original sentence, and, thereby, specifically

retains all options for re-sentencing the movant in the future event that he appears

before this court pursuant to a petition for revocation of supervised release. The

60-months supervised release term imposed at sentencing begins immediately upon

movant’s release from custody.

      A separate order will be entered. Movant’s attention is directed to the

“Notice Concerning Appeals” set out below.

                   NOTICE CONCERNING APPEALS

      A § 3582(c) motion is considered a continuation of the criminal proceeding.

A notice of appeal must be filed within ten days from the entry of the judgment or

order being appealed. See United States v. Fair, 326 F.3d 1317, 1318 (11th Cir.

2003); United States v. Starks, 2008 WL 351386 (11th Cir. 2008); Fed.R.App.P.

4(b)(1)(A)(i). If the movant was represented by appointed counsel in the Northern

District of Alabama at trial or on appeal, movant will not be required to file a new

application to proceed in forma pauperis on appeal from the denial of the §

3582(c)(2) motion. That status will be granted for appeal purposes. If movant was

represented by counsel at trial or on direct appeal but believes he is now unable to

afford counsel, movant should file an application to proceed in forma pauperis

(accompanied by a certified copy of prison account statements for the last six

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months) when a notice of appeal from the denial of the § 3582(c)(2) motion is filed.

The Clerk is DIRECTED to provide the movant with an application to proceed in

forma pauperis.

      DONE this the 23rd           day of September, 2008.




                                SENIOR UNITED STATES DISTRICT JUDGE




                                         6
